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Pastoral Letter on Catholic Education in Puerto Rico

Inter-Diocesan Superintendence for Catholic Education

Caguas, Puerto Rico December 5, 1996

To all members and collaborators of the Catholic institutions in Puerto Rico, Peace, charity and wisdom in Jesus, the one
and only true Teacher! I am honored to present this Pastoral Letter on Catholic Education in Puerto Rico. As Chairman of
the Inter-Diocesan Catholic Education Superintendence (SIEC, in Spanish), I feel great satisfaction in offering the fruit of
long hours of prayer, dialogue and reflection.

The publication of this document marks the twentieth anniversary of the First Pastoral Letter on Education in Catholic
Schools in Puerto Rico (1976). The epistle we signed two decades ago has served as a guiding light to the Catholic
Church's educational institutions and has borne abundant fruit. Today, on the threshold of the Year of Christ and
approaching the Third Millennium, we renew our apostolic mission in the functional field of education, evaluating the work
done and cast a hope filled gaze from the saving will of God.

We collect herein the concerns and ideals of the persons that make up the educational community. The facts, criteria and
projects have been examined in the light of the Gospel. It is now up to all education officers to widely disseminate this
Pastoral Letter, to study and translate it into positive action. Let us put our minds and wills together in a united effort for
the good of the Catholic school, which is the good for youth and adults.

I take this opportunity to thank, on my behalf and on behalf of the Puerto Rican Episcopal Conference, all those who
collaborated in this work.

Yours in Christ,

Ricardo Suriñach Carreras



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                                                                I. Introduction

1.

On March 30, 1976 the Bishops of the Catholic Church in Puerto Rico signed the "Pastoral Letter on Education in Catholic
Schools of Puerto Rico" document (cf. Maestros y Profetas, pp. 47-73). Fortunately, the long road traveled by our schools
during these twenty years and, above all, the many important changes since then in our Puerto Rican society, urge us
now to renew our pastoral commitment in the field of Catholic education, assess the work done and cast a hope filled
gaze toward the New Millennium.

2.

The mission of the Church, where all baptized persons have their share of responsibility (LG 33), is to evangelize. The
evangelizing work is specific in proclaiming the good news of our salvation, creating new creatures in Christ and to
"educate them to consciously live as children of God "(cf . Escuela Católica, n.7). The Church, an expert in humanity,
knows well that the school is a privileged place for their saving mission. For this reason it establishes educational
institutions so that in them not only converge valuable and varied educational experiences, but the synthesis between
faith, life and culture be also performed.

3.

The universal mandate of the Lord Jesus, "Go and make disciples of all nations" (Matthew 28:19), is the starting point of
the ;[heV[uf educational initiatives. Educating people is an integral part of the Church's mission which in this way extends
the teaching of Christ, the Master Teacher. In fact, history bears witness that the ecclesial community, from its initial times
(cf. Acts of the Apostles), first by the catechumenate and catechesis, later in the parochial, cathedral, and university
schools, and now in modern educational institutions, has made huge and persistent efforts to instruct and educate all
generations anytime and anywhere in the world.

4.

In Puerto Rico, the Church has lived its educational responsibility since the dawn of evangelization. From Grammar
School, founded in the early sixteenth century, and the Studium Generale; from nursery schools to universities, including
catechesis and popular education, the Church has been present in all forms of formal and informal education. The recent

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commemoration of the Quincentennial of Evangelization in Puerto Rico (l493-1993) was another opportunity to confirm
this. Let us say, incidentally, that the Bishops in Puerto Rico consider providential and highly significant that this Pastoral
Letter is situated at an equal distance in time between the last Quincentennial, and the forthcoming Third Millennium. With
faith in Divine Providence, we want now to call upon all faithful Puerto Rican Catholics to reflect on the challenges ahead,
without shutting our eyes to the lights and shadows existing in our past.

5.

"Since the discovery of our country, the Church has been present and the Catholic Faith has inspired various moments of
its history, beginning with the baptism as the Island of San Juan. If today Puerto Rico is considered a country of believers,
it is because of our ancestors, who brought with them not only our language and customs, but also the blood that gives
life to our bodies and the faith that enlivens our souls "(Pastoral Letter 1976, n. 1). Certainly, Puerto Rico was born
Christian more than half a millennium ago. Throughout the centuries, the Church has taken up the task of helping to
spread the faith and to maintain, promote and enliven said culture. The school has been, is and will remain an ideal
instrument in this pilgrimage.

6.

On the eve of the New Millennium, Catholic schools are facing major challenges, which are at the same time providential
opportunities for improvement and growth. The Pastoral Letter that we signed two decades ago served as a guiding light
in a turbulent period, and bore abundant fruit. Today, we deeply appreciate the generous self-sacrificing dedication of so
many apostles of the culture and the cooperation of all people who integrate our educational community. We wish, dear
Brothers, that now you receive this second Pastoral Letter with equal or greater spirit of faith, hope and charity, with an
open mind, an ardent heart and the hands ready to increase the sowing in the fields of the Lord.

                                                       II. Declaration of Principles

7.

On many occasions and from several instances the Church has proclaimed its sacred duty of education. The principles of
such a high mission have been clearly stated and repeatedly predicated over the centuries. In this Letter we will just
outline some of the fundamental aspects of its doctrine concerning Catholic schools.


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8.

The Catholic school is an educational and evangelizing community rooted in the saving mission of Jesus Christ.
Educating and evangelizing are two closely related aims. While it is true that evangelization is the only essential mission
of the Church; it is also true that this task would be incomplete and would result superficial, if not accompanied by a
commitment to comprehensive education, organically enlivened by it. Pope Paul VI states that "the psychological
awareness and moral conscience are both called by Christ to a simultaneous maturity, almost as a condition for receiving
the Divine Gifts of truth and of grace, as ultimately befits man" (Ecclesiam suam, n.8; cf. Populorum progressio, nn.15-17;
Puebla, un. 1012-1013). When the educational work embodies the Christian ideals and the perfection of its mission, the
occasion is always highly qualified for growth in age, wisdom and grace in the presence of God and men; because the
sciences and enriching experiences that contribute to the maturity of the human person as an individual and as a social
and religious being conclude in it in an organic, holistic and systematic manner. "The Catholic school educational project
is defined precisely by its explicit reference to the Gospel of Jesus Christ, with the intent to take root in the consciousness
and life of young people, taking into account gbWTluf cultural conditions" (La Escuela Católica, n.9).

9.

The Catholic school community has its own personality centered on faith: it integrates thought and faith in a way that
fosters intellectual growth, nourishes religiosity, and inspires action. We reiterate that this educational responsibility is an
integral part of the Church mission, a mission which consists of proclaiming the Gospel, edifying communities of faith,
celebrating salvation in the liturgy and serving others. Within this theological perspective the essential dimension of the
spiritual formation of all members of the school community should be emphasized.

10.

In the paradigm of catholicity all components of the Catholic school are integrated. Dedication to cultivate academic
excellence promotes the intellectual development of students and faculty, and is an integral part of Catholic education.
The grades for academic excellence and genuine catholicity should not be considered as two incompatible realities. An
even worse mistake would be to set the school's intellectual solvency above its spiritual vocation (cf. Catechesi tradendae,
N.69). Nor would it be acceptable to despise academic competence, since the same religious mission requires in itself,
the pursuit of perfection in the domain of science and professional responsibilities.


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11.

Authentic catholicity imposes a truly universal view and a planner of the educational process and the integral development
of people. Meanwhile, academic excellence goes beyond mere intellectual achievement; because it also includes the
most valuable human dimensions, such as: ethics, aesthetics, feelings, conviviality, mysticism, etc. Allow, Brothers, that
we, as legitimate Pastor Bishops of the Church in Puerto Rico, remember with renewed ardor the responsibility of all of
you, who as our collaborators comprise the Catholic educational community: Our educational institutions have the
unavoidable and urgent duty to be models of excellence and Christian maturity in all its manifestations.

12.

Catholicity is not reduced to a mere vague idea without clearly defined profiles; on the contrary, catholicity should be
expressed in a personal experience of faith, sacred tradition and sacramental richness of the Church. Only then it is
possible to create an atmosphere of solidarity and encouragement that recognizes and promotes the dignity of all
members of the educational community; and also make real the educators' generous response that the mystique of
Catholic education requires. The leadership of the educator must come from the ongoing personal relationship with Jesus
Christ who is the Way, the Truth, and the Life. All education officers should devote their charism for the good of the
Catholic school from their deeply spiritual, prophetic and solidarity roots. Therefore, the selection and training of good
teachers is crucial to achieve the future of an education faithful to the principles of our Catholic identity and obedient to the
Heart of Jesus Christ.

13.

To the extent that we are loyal to the magisterial vocation, we will become a blessing for Puerto Rico and for the whole
world. Educational establishments collaborate with parents, family, the Church and society in the beautiful task of
cultivating youthful talents and guiding them to the wholeness of their human and divine vocation. For us, the Catholic
Bishops of Puerto Rico it would be a joy if within our ability we could provide today this noble service to all Puerto Rican
children and youngsters.




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14.

Unfortunately we can only now express again, sincere and loyal at the same time, our concern at the lack of financial
resources, a privation that prevents us from freely distributing all the good bread of Catholic teaching. We earnestly hope
that the day will come when new generations of Puerto Ricans, without denying their cultural and religious roots, can grow
in fruitful communion and enjoy all the benefits of a complete education. But as of today our educational institutions must
increase their commitment to bring education to all economic levels; thus, they will be collaborators in the effort to achieve
a change in our society that is inspired by Gospel values.

15.

The Church reiterates today its call to all those responsible to redouble their efforts for an ever more just and democratic
education. "The quality of Catholic schools and their service to society has been proven. It would be fair and reasonable to
recognize the right of parents as first educators, and the state's duty to protect in practice the freedom of education. This
way students can choose the school according to their conscience without major economic burdens. Educational grants
and vouchers contribute to the development of a true democracy " (Puerto Rican Episcopal Conference," Declaration on
the elections of 1996, "n.7.5).

16.

Catholic educational institutions must be a beacon of hope, particularly for the poor, and an eloquent example for those
who strive to redefine and reform the education in Puerto Rico. It urges us the request to strengthen and expand the
presence of the Church in the education, to promote and continue the great legacy received from those who preceded us
in this endeavor.

17.

It is necessary to get new resources and support from society to ensure the financial future of schools. Thus, school
classrooms may be open to a greater number of indigent families. The moral integrity of Catholic schools requires of them
a faithful and generous application of the Magisterium of the Church on social justice. The effective management of these
institutions, entails the responsibility and cooperation of the community it serves. Particular efforts must be made to
extend the school to marginalized sectors as a concrete expression of our option for the poor and also as an effective way


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to eradicate poverty and promote social development equity (cf. Mons. Ricardo Suriñach, Educación para la justicia social
en la familia y en la escuela, Ponce 1981).

18.

Democratic principles provide that parents have the right to choose the proper education for their children; it is a radical
right of which derives another also inviolable right, the right to receive a reasonable portion of public funds; because if
parents do not receive such a contribution, they could not exercise the right to choose and, therefore, the right would be
nullified and unheeded. That is why advocating for families with limited resources is a very pressing matter in order to
ensure the free choice of parents to educate their children, an education that should be funded by contributions imposed
by the State. Many schools would improve their situation and would expand their services if the right to free choice of
education would translate into a practical option with the aid of taxes and the official recognition of the extraordinary work
of Catholic schools. The General Council of Education has given testimony to the great strength and the economic impact
of our schools. (El Nuevo Día, February 26, 1996). Other entities have endorsed their achievements in all areas of school
life.

19.

In this regard, Cardinal Luis Aponte Martinez's words in his speech "La educación para la justicia y la paz" [Education for
peace and justice] on the occasion of the Fourth Convention of Catholic Schools are prophetic words: "It is my fervent
hope, he said, that our schools project this image of the evangelical ideal, to be centers for cooperation and altruism that,
inspired by the message of Puebla, produce officials for permanent and organic change, giving priority to the poor, to the
materially and culturally marginalized, and preach a liberating Christ; who do not seek benefits, money or comforts, as if
worldly success were what is important in life. I recognize that achieving these ideals is a difficult and complicated task in
our social and constitutional framework "(October 1980).

                                                          III. Education Officials.

20.

In the second section of our previous "Pastoral Letter on Education in Catholic Schools of Puerto Rico", whose twentieth
anniversary we commemorated, we presented a brief profile of the members of the educational community, namely the


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headmaster, principal, teachers, auxiliary staff, parents, students and alumni. We also expressed our ardent desire that
members of the educational community fulfill their respective responsibilities in a spirit of solidarity and subsidiarity, driven
by the aim of fully achieving the objectives of the institution.

21.

In the current chapter we have changed the order of education officials while also describing more explicitly the presence
and responsibilities in educational tasks that correspond to four people, who are the Bishop, the Vicar of Education,
Superintendent and Pastoral Coordinator.

A. Bishop

22.

A pastor, teacher and prophet, the Bishop is the essence of an educator. They are responsible of the sacred duty of
teaching all people. In exercising their duty of teaching-which is conspicuous among the principal duties of bishops, they
should announce the Gospel of Christ to men, calling them to a faith in the power of the Spirit or confirming them in a
living faith; propose to them the entire mystery of Christ, that is, those truths the ignorance of which is ignorance of Christ;
and also point out the divinely revealed way to give glory to God and thereby to attain to eternal happiness (Christus
Dominus, 12;. cf. Lumen Gentium, 24-25;. Speech of Paul VI, 14. IX 1964. C.IC. cn 375).

23.

In our specific purpose to faithfully endorse the teaching, to reconcile it in all its instructions, we are aware that the mission
of preaching the Gospel that has been entrusted to us by Jesus Christ Himself requires that we not only preach and
transmit the catechesis but it further urges us to ensure the teaching of Catholic doctrine in schools, universities and all
modern means of social communication. Therefore, Catholic schools must work in concordant action with other diocesan
institutions under the leadership of the Bishop (cf. Christus Dominus, nos 13.17;. Gravissinum educationis, n.4).




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B. Vicar for Education.

24.

Whenever required by the righteous government of the diocese, the Bishop may appoint vicars to assist them with certain
matters. The Vicar for Education is responsible of, by authorization or delegated authority, the general supervision of all
educational institutions of the diocese. He advises the diocesan Bishop in this pastoral field and represents him to entities
related to Catholic education and other public and private organizations. In addition, he presents for the consideration of
the Bishop projects, successes and difficulties of Catholic educational institutions. The office of the Vicar for Education, as
the alter ego of the local ordinary, contributes to the unity and seeks an efficient coordination of the educational ministry in
the diocese.

C. Superintendent.

25.

During the second half of the twentieth century the figure of the Superintendent of Catholic Schools has been outlined. In
our aforementioned Pastoral Letter of 1976, we already mentioned, albeit briefly, their specific responsibilities. We are
able to define and recognize their role within the educational pastoral today. Each diocesan bishop designates an office to
serve all Catholic schools within their respective dioceses. This office, which is known as the Superintendence for Catholic
Schools, works in close collaboration with the Bishop and their Vicar for Education. In addition, the Vicars and
Superintendents integrate, under the chairmanship of a bishop appointed by the Puerto Rican Episcopal Conference, the
Episcopal Commission on Education and the Inter-Diocesan Superintendence for Catholic Education.

26.

As an instrument of evangelization, the Superintendence is responsible to ensure the spiritual growth and intellectual
maturity in students; as well as the religious and professional training of teachers. The nature of this service is specified in
the effective assistance and fraternal supervision to be carried out in order that each school works effectively to attain
genuine catholicity and academic excellence of all who comprise the educational community.




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27.

The Superintendent, as head of said office, with the assistance of their collaborators and under the ordinary authority of
the diocesan Pastor, performs his mission that consists of:

- Ensuring Catholic religious education in all Catholic institutions (C.D.C. cn. 804).

- Promoting an atmosphere animated by a spirit of liberty and charity based on the Gospel.

- Promoting, assisting and encouraging unity among all Catholic schools in the diocese and Puerto Rico, through the
Inter-Diocesan Superintendence for Catholic Education (ISCE).

- Setting diocesan rules and guidelines on the general organization of Catholic schools.

- Disseminating Church documents on Education and ensuring that they are known and applied in each school.

- Ensuring the integration of educational pastoral into the overall diocesan pastoral and Puerto Rico, especially with
regard to youth pastoral and catechesis.

- Developing a spirit of family, unity, justice and simplicity among all components of the school, and with sister schools of
the diocese and throughout Puerto Rico.

- Being a spokesman for achievements, hopes, projects, rights and duties of Catholic schools before national and
international government agencies.

- Recommending concrete ways of living in each school, the option for the poor and community service.

- Ensuring that religion teachers have the proper training and the required certification.

D. Headmaster and Principal

28.

School Statutes define the role of the Headmaster and other people who collaborate in the educational work. The
Headmaster is a key figure in the Catholic educational project, especially with regard to the religious identity of the school.

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We know that the organization of the school administration is heterogeneous; however, the Headmaster represents an
important link with the Hierarchy, the parish, the institutes of consecrated life, the board of directors, and society in
general. He works in close cooperation with the Principal, the Pastoral Coordinator and with other members of the school
community.

29.

The Headmaster's immediate responsibility is to ensure that the Catholic school faithfully reaches the education project
goals. The Pastoral Letter we published twenty years ago proposed that the Headmaster, as pastor of the school
community, should provide the means to make of it an authentic community of faith. Since then there have been quite a
few laymen who have received the responsibility for directing some Catholic schools; this is a new situation that, in certain
way, demands to change our previous recommendation. However, because of their position the Headmaster, whether
priest, religious or lay will always be the first promoter and leader of the school community. Through them the Catholic
school receives and endorses the Bishop's pastoral indications, thus integrating the diocesan pastoral under the general
supervision of the Superintendent.

30.

"The Headmaster must be a very communicative person, very given to dialogue and understanding. [ ] has to be a person
of great vision, great openness to change, capable and creative" (Pastoral Letter 1976, n.13). They may also be
responsible of the financial administration unless another person or entity have been duly delegated to it, and of the
general affairs determined by the competent authority. Under no circumstances should they lose sight of the priority of the
essential notes of the Catholic institution: Christ, the Gospel and the Church.

31.

The Headmaster and Principal are the key people in this commitment. In some cases the Principal, whether due to
temporary absence of the Headmaster or lack of that position, assumes all obligations and prerogatives of the school's
management. In both cases the Principal, having tended to the current management scheme in the respective institutions,
will have to work in a team with a collegial spirit; and naturally, it is necessary that he knows, accepts, promotes and
accomplishes the philosophy of Catholic education in all matters that depend on him.


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32.

In schools where the Principal is working with a Headmaster, please define clearly the field of action and authority of both.
In any case, the Principal will freely exercise the functions of their office of all matters pertaining to academics, discipline
and general administration of the school; duties that he shall always perform consistent with the philosophy of Catholic
education "and in close coordination with the Headmaster, to whom he will respond directly and immediately at all times"
(Pastoral Letter 1976, n.18).

E. Pastoral Coordinator.

33.

The Pastoral Coordinator plays a very important role in the scheme of genuine catholicity. So much so that requires a
canonical mission from the ecclesiastical authority. Appointed by the Headmaster on the proposal of the Principal, he has
the task of coordinating the Department of Pastoral and encouraging activities of religious education, Christian experience
and apostolic commitment.

34.

Among his most important tasks we must include the following:

- Ensure proper assessment of the Christian format

- Stimulate and enhance the formation of Christian groups among members of the school community.

- Provide timely moments of reflection and Christian coexistence to both students and teachers.

- Promote and encourage a free and creative Christian community environment, in which is normal to have an option for
Jesus Christ.

- Organize pastoral activities, by providing the school community opportunities to communicate, celebrate and witness the
faith.

- Integrate religious education in the curriculum and school activities.

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- Organize the religion curriculum (cf. Pastoral Letter 1976. A. 46-B, 47 and 48).

- Meet educational and religious needs of teachers.

- Organize the Didactic Resources Center.

- Review the texts and methods of teaching religion.

- Assess the Department of Pastoral, in the light of the objectives already established.

- Evaluate as well the work of the religion faculty and seek ways for teachers to obtain professional certification.

- Ensure that the religious studies program includes the teaching of the Church about social order.

- Collaborate with the Parent Teacher Association religious activities committee.

- Allocate an adequate budget to meet the Department of Pastoral needs.

35.

These apostolic and professional responsibilities allow us to see that the mission of the Pastoral Coordinator unfolds in
the heart of Catholic education; therefore, we applaud the management of schools that have already integrated these
services into its educational project; and those who have started the process we encourage them to take it to a successful
conclusion within a reasonable time. The surveys and studies we have made clearly demand from us an urgent renewal in
the pastoral field.

F. Parents of Students

36.

The parents of students are by law of nature the first and bound educators of their children; and such right is "original and
primary with regard to the educational role of others". (Familiaris consortio, n.36; cf. Gravissirnum educationis, n. 3;
Congregación para la educación católica, El laico católico testigo de la fe en la escuela, n. 12; Catecismo de la Iglesia
Católica, n.1653). At present there are many children and young people who, deprived of the physical presence of their
parents, find protection in Catholic homes thanks to the generosity of guardians, grandparents, relatives and friends.

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37.

To all those that generously offer their guardianship to these children and young people, orphans in fact, we tell them to
also assume the moral obligations of parenthood; and we also renew our expression of gratitude for their invaluable work
at the service of children and youth. Moreover, as Bishops conscious of the mission we have received from Jesus Christ
Himself, we further express the deep pain that the situation of those children and youngsters who do not have the joy that
comes from marital harmony and family life causes us.

38.

According to consultations made by the diocesan Superintendences, parents believe that the main reason they send their
children to Catholic schools is the religious and moral education their children receive in them. This fact makes us very
happy and encourages us to keep the essential purpose of the teaching apostolate with even more vigor. Consequently,
we insist on the priority of the religious education program during the school day; and to actually meet this purpose, the
religion teacher preparation must be taken into account, not only as a matter of principle, but as a response to the wishes
of students' parents. Although sometimes parents find deficiencies in our institutions, particularly in regard to their
involvement in school decisions, they recognize that these are distinguished by Christian values, by the integral
development of students, by offering the necessary courses for their children's future and for providing a favorable
environment for the teaching process.

39.

Respecting the principle of subsidiarity, we renew our recommendation to ensure the parental involvement in the school
community and encourage the creation of a Parent Teacher Association or other similar organizations where none exist.
And, we praise the cooperation of these organizations where they exist and work harmoniously together with the
administration of various Catholic schools.

40.

Likewise, we commend the Parents' School training project and congratulate the wealthy families that help scholarship
recipients. While acknowledging that socioeconomic circumstances have changed much over the last twenty years, our
appeal is valid even today, not to say that it is more urgent than ever, so that in Catholic schools -parents and children-


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practice austerity as closely as possible, especially in certain activities in which there still persists an ostentation that is
incompatible with genuine catholicity; because they are cause for scandal, a sign of contradiction to the Christian life and
an offense to the institution, however much the desire to avoid such prejudices intends to disassociate them from the
school's name.

G. Teachers

41.

The Faculty staff of our Catholic schools are composed at present by priests and lay people who have joined the always
active presence of religious men and women. To the Bishops, this Pastoral Letter seems the appropriate place to reiterate
a special mention to the Institutes of religious life consecrated to education. Throughout centuries they have founded and
run good schools where they have successfully fostered, according to their particular charism and always effectively, the
teaching of many new generations. The vocation of the religious provides "the innovative spirit of the Beatitudes, the
continuous call to the Kingdom as the sole definitive reality, the love of Christ and of men in Christ as the sole complete
life choice" (El laico católico testigo de la fe en la escuela, n.43; cf. La Escuela Católica, un. 75-76; Dimensión religiosa de
la educación en la escuela católica, n.35). To them praise and gratitude in the name of our Lord Jesus Christ.

42.

Nowadays, lay educators are a vast majority in the schools' teaching staff. It is worth noting now the profound reality that
this remarkable presence of the laity in the Catholic school, far from being purely the result of the current historical
juncture, is rooted in the mission received from Jesus Christ Himself; for it, all the baptized, not just priests and the
religious, have been "in their own way made sharers in the priestly, prophetic and kingly functions of Jesus Christ"(Lumen
gentium, n.3 1), and therefore "the apostolate of the laity is a sharing in the saving mission of the Church, to whose
apostolate all are appointed by the Lord himself" (Ibidem, n.33). The educator vocation is very typical of the laity, because
"their particular vocation places them in the midst of the world" (Evangelii Nuntiandi, n.70) and also allows that, among
other multiple tasks, the education of children and adolescents be "their own field of their evangelizing activity" (Ibidem; cf.
Gravissimum educationis a, 5 and 8).




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43.

In our ecclesial community laypeople are gradually assuming their responsibilities at all levels of education. We wish for
them a greater degree of professional stability, of participation in religious and apostolic associations, and of integration
into the family environment that is characteristic of the entire educational community. If teachers seek to perfect their
theological formation, such growth will lead to a spiritual and professional growth of all teaching members, which will be of
great benefit to the entire school community. The nature of the teacher's vocation demands of them a permanent
availability for renewal and adaptation. "The fact that such a need for updating is constant, turns it into a lifelong learning
task. This affects not only the professional training but also the religious one, and in general, the enrichment of the whole
personality, because the Church must constantly adapt its pastoral mission to the circumstances of men of every age in
order to take to them the Christian message in an understandable and appropriate manner to their condition". (El laico
católico testigo de la fe en la escuela, n.67)

44.

It is disappointing to observe than in surveys conducted we find teachers who say their religious beliefs do not appear to
influence their life as a teacher, and some express little interest in improving their life of faith nor their students spiritual
experience. We take comfort in the hope that most of the teachers in our Catholic schools seek to follow the path of
authentic Christianity and have seen that they have given themselves to Catholic education for reasons that really connect
their religious beliefs with their Catholic teaching. It is convenient to earnestly analyze the indissoluble relationship that
exists between the philosophy of Catholic education and the personal identity of the educator, able to persevere in this
apostolate despite the difficulties. In any case, teachers are able to provide constructive criticism, which serves to improve
the fidelity of the educational institution to their evangelical identity. As a matter of fact, they have also expressed their
concerns with Catholic schools religious coherence, the social commitment to the poor and the promotion of indigenous
culture.

45.

The Council itself reminds teachers that it depends largely on them that Catholic schools can carry out their purposes and
initiatives (cf. GE, 8). This responsibility does not lie solely on the religion teacher, but falls mainly upon every Catholic
who chooses to work or become a teacher in a Catholic school, since they have to be aware that as a Catholic they live
their faith and perform their apostolate in the teaching and their very lives. Therefore, they must live every day as a

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committed Christian, with full awareness of the integration of faith, culture and life, and must be a person of a spiritual and
religious life that is reflected in their daily work, concerned about their salvation and that of others.

46.

The Catholic school, as a school, must provide an excellent education; and in Catholic terms, it is a center in which the
faith must be lived and celebrated in all its work. There is no doubt that most of our schools are characterized by providing
an education of excellence. However, given the world we live in, it is imperative to awaken within each of the students a
sense of daily conversion and the habit of reflective reading of the Holy Scriptures. As educators, we must begin with
ourselves, and then take students to work on their own conversion; to love, and do more often, the reading of the Gospel
as a means of growth in faith, teaching them to love Our Lord Jesus Christ more, and to know and appreciate His infinite
love to all mankind. Teach them to seek and find, in this reflective reading, answers of life, love and service in a world that
advocates the denial of life, selfishness and individualism.

47.

Similarly, it is necessary to guide and make students aware of the purposes of work and educate for it. In their human
purpose, as an ordinary means available to the man to make a living, support their family and serve humanity. In their
supernatural aim, the collaboration in God's creative and redemptive work of our Lord Jesus Christ and, therefore, a
means of sanctification for the Christian.

48.

A formal professional preparation and an authentic apostolic action of the teachers in our schools is imperative (cf. GE, 8).
The integral formation of every teacher is a need that is personal, professional and religious - spiritual. But this
preparation must be accompanied by a serious commitment to the work done: being a Catholic that teaches, educates,
who tries to get all the best from each of their students, children of God and their brothers.

49.

Therefore, it is urgent to analyze and evaluate each of the criteria used and the process that takes place when selecting
the personnel who will work in our schools. This mainly includes teachers, principals and headmasters, if applicable. Each
and every one must be committed or willing to commit to the Catholic schools philosophy and mission.

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H. Auxiliary Personnel

50.

Among those who contribute in varying degrees to the formation of the human being is necessary to mention counselors,
librarians, managers of educational resources or audiovisual centers, tutors, coordinators, administrators and other
essential servers. In our schools there is no job, however humble, that does not affect the psychology and spirituality of
students.

51.

Non-teaching and auxiliary services employees are important members "because the orientation of the entire educational
process depends on them. They should also be involved in the activities and life of the Faith Community School "
(Pastoral Letter 1976, n, 27 ). The aid of counselors or advisors is invaluable, not only in regard to the academic matters
and college preparation, but also in the spiritual and religious counseling. Meanwhile, librarians and related professionals
stimulate the organic growth of sources of knowledge, and assist teachers and students in the great adventure of
knowledge. With their expert advice, they promote good reading and the intelligent use of audio-visual media. They
welcome the past of the classics and accept new technologies. The library today is more than the educator's marginal
help, as it conserves resources able to model the cognitive, characterological and aesthetic process of students.

52.

Managers, coordinators, those in charge of the development, public relations and other duties bear the burden of the
school structure, because they are responsible that Catholic establishments do not lack roof, bread and a perfect
organization. Finally, we give honorable mention and gratitude to all the benefactors and volunteers that help directly to
school management, relieving the weight of their responsibilities as if they were guardian angels of the school.

I. Students.

53.

With the intention of emphasizing their first category role in the world of Catholic education, we now devote a whole
chapter to students. They are the reason for the foundation of schools. God and families put in our care part of these

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children and young people growth in love, science, freedom and responsibility. Students aspire to multiply their talents
according to the will of the Lord: to climb the ladder of truth, beauty and goodness; to progress in their vocational or
professional career dreams or to serve society. But above all, they want to live fully the saving plan of the Triune God.

54.

According to the Superintendences' questionnaire, most young people consider that human love and friendship are
important for personal fulfillment. Faith, family, culture and work are still left behind on the horizon of the principles of
these young people. The "distant God" becomes present by human mediations: the mother, friends, adults. Students, in
their process of Christian maturity, could overcome their too egocentric and utilitarian motivations to think more about
serving others. Trusting today also in the eternal power of God's grace, the educational community will find effective
methods to awaken students' interest in the religious dimension of their lives. Given the easy temptation of youth evasion,
promote community service and educational social commitment programs; moreover, make them part of the Catholic
school curriculum.

55.

It is proven that school students do receive, generally speaking, a good education. However, it seems appropriate to insist
on how urgent it is a religious teaching of quality along with the personal testimony of teachers, for children and young
people appreciate the Gospel message more often, the value of the sacraments, religious practice, the vocation to the
consecrated life and the commitment to a living faith. Otherwise, we run the risk that the epidemic of indifferentism
spreads further, and its harmful consequences of chaotic eclecticism proliferate to the New Age style, and others. It is
worth remembering that some teaching styles do not conform to the true theological anthropology, as explicitly states the
Catechism, when speaking of the doctrine of original sin: "Ignoring that man has a wounded nature inclined to evil gives
rise to serious errors in the areas of education, politics, social action (cf CA 25) and morals", (Catecismo de la Iglesia
Católica, n.407).

56.

On the other hand, it is a comforting stimulus for all to see that there are many positive aspects that are contained in the
so-called modern culture. The need the school experiences daily that the undeniable technical progress of social
communications and, in general, all of modern technology can be integrated into a pedagogical proposal that promotes

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healthily critical attitudes and decisive actions to achieve an integral human development stands out as a hopeful element.
Since students usually do not read much, something that they admit in the surveys conducted by the Superintendences,
and more specifically, it is rare that they read the Gospels, it seems accurate to think that the school, in addition to
promote the love of reading, also has the alternative to project images of the Revelation contained in the Holy Scriptures.

57.

It is a vital, crucial and urgent need to provide effective means for students to learn to appreciate the Gospel and to bear it
in mind in their daily decisions. We must educate students for the personal reading of it. And above all, that educators and
even the very structure of the school, become living witnesses of a life authentically made in the light of the gospel. That
cannot be achieved when students notice a radical disorientation regarding the fundamental goal of Catholic education or
even perceive some counter witness within the educational community.

58.

Therefore, and it is rather unfortunate, we cannot be surprised if at times in wanting to enrich human goals through
religious factors attitudes that have dichotomous or schizophrenic traits appear. Achieving as normal the apostolic
approach among companions in our schools may help to heal this spiritual rending. Therefore, we appeal to parents to
reinforce at home, with words and deeds, the lessons taught in the Catholic school.

59.

As for education in human love, the Church has recommended on several occasions a gradual, prudent, truthful
education, adapted to the age and in coordination with parents. In contemporary times prevails an atmosphere of
hedonism, relativism and sexual promiscuity. The behavior of youths reflects confusion, misinformation and distorted
ethical principles. The media, the pornography trade and government positions have made the situation more difficult. The
family, school and other institutions of good will are facing a monumental challenge in this battlefront (cf. "Declaración
sobre los comisiones electorales 1996", n.7.5; cf., also, S.E.R. Mons. Fremiot Torres Oliver, "Carta pastoral sobre
sexualidad y moral cristiana", 20.IX. 1977, in Selecciones de alocuciones, pags. 45.52).

Therefore, it is essential to enrich and to strengthen the teaching of ethical, moral and sexual issues by presenting and
clarifying situations and concepts through courses specially prepared for this purpose and/ or within the existing ones. A


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continuous dialogue and supervising the young is further recommended, in order that, given the reality of the world today,
the youth can discern with clearer criteria and, thus freely and consciously assess, accept or reject the different situations
to which they have to face.

60.

Young people formulate a moral question from the most sacred place of the heart and Christ fully responds to such a
question:

"If you would enter life, keep the commandments ... If you want to be perfect, go, sell what you have and give to the poor,
and you will have treasure in heaven; then come, follow me" (Mt 19: 17- 21; cf. Veritatis splendor, nn .. 6-25). Following
Christ calls for renunciation, while conferring a fair value to earthly realities. Overcomes the separation between the
physical and spiritual aspects (cf. S.E.R. Luis Cardenal Aponte Martínez, "Valores humanos, morales y cristianos del
deporte", VIII Juegos Panamericanos).

61.

Given the characteristics and trends in society today, and reaffirming the philosophy of our schools and the essential
elements of it - academic excellence and genuine catholicity - we strongly encourage that the education that is offered to
students be oriented to:

The formation of character and personality, which should not be understood as an education charged with more rules,
discipline and order, but as the search for the highest aspirations of the human being ,and the wholeness and perfection
of the person as man, social being and son of God.

- Promote self-awareness, self-esteem and self-confidence, so that, by knowing themselves develop their talents to the
fullest for their own salvation and that of their neighbor.

- Delegate responsibilities to the children and young people so they develop and assume leadership and capacity.
Establish youth associations that promote the participation of young people in educational, religious, social, cultural,
sporting, and artistic activities, among others; so that it feels like part of their own growth and of others.



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- Participation, commitment, solidarity and service. We strongly encourage young people to join apostolic groups of
service and support, among others, for by knowing the needs of others, they will put their spirit at the service of the needy.

62.

We invite young people, strength, joy and vitality of the Church to:

- find and treat our Lord Jesus Christ through daily prayer. With the strength of the spirit of the young, ask Him every day
the question of the rich young man "What must I do to inherit eternal life?" Thus the Lord, by His infinite love to mankind,
will guide their life to achieve wholeness as a Christian.

- follow the advice of Holy Mary, Our Mother and Teacher: "Do whatever He tells you." (Jn 2: 5) She as Mother, will lead
you to the knowledge, love and pursuit of our Lord Jesus Christ, and will help you to reach personal wholeness as a child
of God and you will find the desired freedom and joy.

J. Alumni.

63.

The task of Catholic teaching is constant, not only because generations succeed one another uninterruptedly, but also
because, even after graduation we must attend former students with our advice and friendship, and the creation of special
associations "full of ecclesial spirit "(Gravissimum educattonis, n.8). While some critics have a pessimistic diagnosis as to
the fruits of the Catholic school, we also know other testimonies that tell of the return of an adult to the school's Christian
values and an explicit recognition of the positive influence of the education received. Another group perseveres from the
beginning in the confession and experience of these values despite social environmental obstacles and personal human
frailty.

64.

Former students are active members of the educational community. They enjoyed their day of a unique opportunity: to
study in an inclusive environment inspired by Catholicism The graduate student of Catholic schools subscribes in some
way the social and religious commitment to the "alma mater" and with the wide world.



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                                IV. Catholic universities and institutions of higher education.

65.

"With the passing of centuries schools were established in the neighborhood of churches, cathedrals and monasteries,
thanks especially to the zealous initiatives of bishops and monks. These schools imparted both ecclesiastical doctrine and
secular culture, forming them into one whole. From these schools arose the universities, those glorious institutions of the
Middle Ages which, from their beginning, had the Church as their most bountiful mother and patroness." (Constitución
Apostólica Sapientia Christiana sobre las Universidades y Facultades Eclesiásticas, cf. A. Colón, La Iglesia en los albores
de la Universidad, en Horizontes, XXXII, ns. 63-64, pags. 49-53).

66.

In Puerto Rico, the Church also has played a leading role in higher education, from the Studium Generale to the
universities of our time. We, the Bishops of the Church in Puerto Rico, observe with satisfaction the growth of universities
connected to the ecclesial community and the foundation of various theological and pastoral institutes. These centers are
an indisputable wealth for Puerto Rican society. Let us remember the luminous words that Pope Saint John Paul II
dedicated to our youth in his memorable visit to Puerto Rico: "The youth flee from mediocrity, live on hope and want to
find their due place in society today. Therefore, their voice must be heard and should have access to the spiritual, cultural
and material goods of our world, to avoid being a victim of frustration, avoidance or drugs. But you must never forget that
to fill the soul of the young of valid ideals we must give them horizons of solid moral and cultural education. I praise and
bless you, then, the effort that the church does in favor of youth in Puerto Rico, both at school or college as at the
university. And I encourage you all, without distinction of social class, that you may receive an integral education in the
educational establishments of the church and out of them. "

67.

We welcome this message as a soothing balm in a world where individualism dwells,paradoxically garnished with the
gregariousness of trendiness. The university has a prophetic role in the face of a society dominated today by comfort,
instant gratification, consumerism, promiscuity and superficiality. Although perhaps some people do not theoretically


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accept this university mission, yet they also expect that the university fosters a mentality of commitment faithful to the high
Christian values. Today more than ever culture needs of holy men and women, able to release it from the inhuman
reductionism to which sometimes it is subjected by the unilateral advancement of science and technology.

68.

For the university to respond to this so urgent need, it is necessary that the educational philosophy does not diminish its
high level and effectiveness by the eagerness to alleviate possible economic difficulties of the institution. The legitimate
concern for the survival of the institution must not undermine the ethical and professional mystique of educational
establishments. Naturally, we will always put the means required for a good financial health, thus ensuring a dynamic
stability; but it will never be licit to lose sight of the values that are our educational institutions' raison d'être. These must
ensure a strong vision of the true principles that serve our people as a guiding beacon in their difficult journey. (Cf. S.E.R.
Mons. Fremiot Torres Oliver, "Misión de la universidad católica", 23.11.1981, en Selección de alocuciones págs. 57-67;
ID, Ambiente de fe en la universidad, 20. VIII. 1973, págs. 33-35; ID, La libertad académica y la universidad católica,
16.VIII.1972, pags. 13-29. Cf. also, S.E.R. Mons. Ricardo Suriñach Carreras, Identidad y misión de la universidad
católica, 9.VIII. 1991; Juan Pablo II, Const. Apost. Ex corde Ecclesiae, 8.I.,J 992).

69.

The university is called to express, in timely and intellectual competence, their ethical and religious convictions so that
they are an illuminating voice for society's secular criteria. Since in our country the cultural components are mainly
Christians, we must also continue presenting them now, in renewed perspective, as the solid foundation to individual and
community life, and as a useful tool to overcome the divorce between culture and faith, society and faith. Cultivating a
Catholic intellectual culture does not diminish the true spirit of respect and tolerance, but strengthens them.

Thinking with ancient roots framed by high ideals and refined in a scientific dialogue can shape the future of generations.
The words of Jesus Christ are always in force: "The truth shall make you free" (Jn 8:32).

70.

Indeed, Puerto Rican Catholic universities have a very broad scope of action, respecting, of course, their inner nature and
relative autonomy. We cannot emphasize enough the value of interdisciplinary dialogue and the meaningful mission of the


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university towards the development and promotion of a Catholic culture. The same applies for the potential of research it
has regarding the evangelization of culture and inculturation of faith. Campuses are a privileged environment, very able to
be at the forefront of culture and evangelization; they are called to be, so to speak, the privileged place for the discussion
of faith and culture and the most conducive environment to carry out a healthy and urgent synthesis between faith, culture
and Christian life. Campuses should lead the overcoming of conflicts, so anachronistic, between humanism, science and
Christianity; since in them culture revitalization and the progress of the intellectual community are promoted, because in
them it is studied and analyzed the Christian heritage as the basis of culture and true democracy.

71.

The Bishops of Puerto Rico know that our universities have carried out a huge task in the dissemination of knowledge. We
also know that, despite its budgetary constraints, they have also led research and aesthetic creation projects to successful
conclusion; and they have prepared community leaders. We remember it with legitimate pride, and at this time we would
like to affirm again that we strongly support such commendable work, which must be continued and even increased. We
also want to remember that, without neglecting the informative function, should be emphasized the educational objectives
that help our students to welcome with personal responsibility and freedom the Gospel message, the only one able to
forge in them attitudes of Christian solidarity. The university paradigm based on the Gospel awakens in the consciousness
the reality of a global world of healthy and fruitful cooperation; that ideal model knows how to integrate the most advanced
scientific and technological learning with the formation of Christian virtues: praying, communicating, living together,
serving, resolving conflicts peacefully, caring for creation, walking in freedom and responsibility, knowing how to die.

72.

Catholic education not only develops intellectual faculties, but also promotes "friendly relations between students of
different talents and backgrounds, contributing to mutual understanding" (Gravissimum educcationis, n.5). Healthy living,
rooted in Christ, reports relationships with God, with other people and with Nature. The Lord teaches us that human life is
not reduced to a mere selfish effort of survival. The personal biography should be a generous dedication for the common
good. The fair, peaceful, compassionate and healthy cohabitation is a unquestionable requirement of the Gospel. The
university, center of intense and varied social relations, can and should become a privileged place for the exercise of
fraternal charity. The university community, messenger of culture and spiritual goods, updates the model of the Good
Samaritan when it delivers all the commitment of solidarity; because, as John Paul II says, "A Good Samaritan is

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everyone who stops beside the suffering of another person, whatever form it may take" (Savingi doloris, n.28). Here is a
key point of Christian anthropology: a man "cannot fully find himself except through a sincere gift of himself to others"
(Gaudium et Spes, n.24).

73.

Since the university is a missionary community, open to universal coexistence, it is urgent to promote the teaching and
practical application of Catholic social thought. In our country it is evident that some problems await the illuminating
presence of truth, to whose knowledge the university is dedicated, for example: family crisis, the culture of death, drug
addiction, justice in the world of labor, the cooperative philosophy, liberal capitalism, violence as result of materialistic
selfishness and ideological fanaticism, each for its part, ignorance, and the consequent lack of respect for genuine cultural
values. The social doctrine of the Church recognizes all that positively contributes in improving the professional training
and spiritual development of university students; but it frames it within the requirement to community service and fraternal
solidarity. Individual preparation acquires its true sense in the light of the integral development of the person, development
that should not ignore the social task of contributing to peaceful coexistence.

74.

To be consistent with what we have expressed here in this Letter, we would now refer to the delicate issue of students'
religious education and also to the preparation of Catholic teachers. True to the perennial doctrine of the Church we state
the words of the Second Vatican Council: "the human person has a right to religious freedom. This freedom means that all
men are to be immune from coercion on the part of individuals or of social groups and of any human power, in such wise
that no one is to be forced to act in a manner contrary to their own beliefs nor prevented from acting according to it".
"(Dignitatis Humanae, n.2). But we suffer to see that "there are many who today have never recognized this intimate and
vital link with God, or have explicitly rejected it (Gaudium et Spes, n.19). We ponder the challenges of modern rationality
and secularism and we experience that in the university environment the critical rigor is accentuated, from teachers as of
students. All these factors combine to require an organic and systematic theological training adjusted to the condition of
students and that realistically be aware of the university environment. Although we know that a number of young people
get to the university with a very deficient catechetical instruction, we want to keep our hope that the interdisciplinary
dialogue will contribute to a mature integration of the contents of faith with the scientific and humanistic culture (cf. Ex
corde Ecclesiae , n.20). Furthermore, we want that the communication of the Catholic doctrine contributes for students to
progress naturally in the commitments of "Koinonia" communion and the service to others "Diakonia". We observe with joy


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and gratitude to the Lord that from 1976 till today some progress has been verified in the university pastoral action (cf.
Ordenamientos para Universidades Católicas de Puerto Rico, n.5.3.).

75.

As for the preparation of Catholic teachers, several investigations reveal that our education faculty members still do not
meet the demand for Catholic school teachers. On the other hand, Catholic schools expect of the teachers a deeper faith
formation and a stronger commitment on the testimony and in all the principles of Catholic education. The Catholic school
system needs that managerial staff, teachers and assistants to be truly competent professionals, and at the same time,
mature and convinced Catholics.

76.

The subject of religious formation touches the most intimate fiber of catholicity at university level. But it is fair to analyze
the situation from a wider perspective that encompasses the institution as a whole. In other words, the university as a
whole is called to be Catholic, bearing in mind the relative autonomy of human realities. Now, Catholic institutions are not
immune to historical events that affect all cultures. The most pressing challenge of culture and religion lies in the binomial
science and technology. Today is in question the traditional structure of societies from a total radicalism. We have not yet
measured the effects of this impact over religion, ethics and aesthetics.

77.

The danger is that scientific development absorbs the other components of culture and is imposed as an absolute
reference for standards and values; that is, the danger is that the method of experimental science intends to go beyond its
true limits, thus, first of all, it would encroach on the ground of theological and metaphysical sciences to, in a second
moment, take over the mission that correspond only to the latter: to give the real answers to the deepest human concerns.
It is precisely at this juncture where the Catholic university shines in its true nature and mission, as the proper space to
create higher synthesis in the manner of St. Thomas Aquinas and, in our day, of Jacques Maritain. But, since risk
situations stimulate creativity, we are confident that the difficulty of disorientation produced by some individuals, who have
been captivated by the attractiveness of experimental sciences will be overtaken by a new integration process a result of
scholars who are mature in faith and excellent in their professional quality.


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78.

As a corollary of the foregoing reasoning, we believe that the Catholic higher education institutions do well when
conserving humanistic knowledge of classical wisdom without thereby ceasing to explore the paths that lead to the
sciences of the "future"; because in this way they are trained to harmonize science and wisdom, and can educate
students in the model that combines the working man with a wise man. It is important they explore the benefits of
computer network and other technical media, so they may illuminate them with the fruits of their research and ethical
judgment. The ethical attitude of the university student is established in humility, which is always love of truth and,
therefore ennobles excellence, even in someone who moves among the heights of the arts and sciences.

79.

At this stage of our reflection and from the perspective of our responsibility as Bishops of the Catholic Church in Puerto
Rico, we want now to glean some teachings of the Apostolic Constitution of the Supreme Pontiff John Paul II Ex corde
Ecclesiae on Catholic Universities, and the Ordinances for Catholic Universities of Puerto Rico. Of the nature of Catholic
universities, as universities, springs a commitment to the protection and promotion of human dignity and cultural heritage.
That is why our hope is legitimate for them to propitiate the encounter between the Puerto Rican intellectuals and the
great works of Christian culture. That meeting should be extended to all people and all native tradition. The recommended
means is a teaching that is the result of a serious and persistent research, and a valid offer of services inside and outside
the country. Suggestively, universality and catholicity embrace at the point of social altruism. This "universal diakonia"
goes even beyond the inter-university collaboration recommended by the Ordinances (n. 6.1) and covers the discreet
collaboration with governments and national and international organizations in favor of justice, development and progress
( cf. ibid, n.6.2.).

80.

Now, the struggle for a fairer world must begin in our own house. The Catholic University feels responsible to contribute
concretely to the progress of the society within which it works: for example it will be capable of searching for ways to make
university education accessible to all those who are able to benefit from it, especially the poor or members of minority
groups who customarily have been deprived of it, the Roman Pontiff John Paul II claims. In addition, the Catholic
university has the responsibility, within the limits of its possibilities, to help promote the development of emerging nations
"(Ex corde Ecclesiae, n.34). In the context of its autonomy and in tune with their conditions, the university will provide

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lifelong learning opportunities for adults, advisory services, and wide dissemination of knowledge beyond academic
boundaries.

81.

Institutions of higher education will provide light and truth, even in delicate and thorny issues of the Puerto Rican social
reality. Among these conflicting areas, "which should be prime objective of the research and academic work of the
University, it should be noted the configuration or political model of the country without incurring in partisan factions, in the
light of historical events and cultural values and traditions of five centuries of history of the people of Puerto Rico" (S.E.R.
Mons Ricardo Suriñach Carreras, Identidad y misión de la Universidad Católica, II, 9.VTII.1991). Of particular relevance is
the research related to the recognition and promotion of human rights, for example: the right to life, personal security,
work, education, decent housing, care in sickness, old age or unemployment in order that the training of students
integrates academic and professional development with the formation in moral and religious principles; it is necessary to
ensure that students be inserted theoretically and practically in the reality of serious contemporary problems, in areas
"such as the dignity of human life, the promotion of justice for all, the quality of personal and family life, the protection of
nature, the search for peace and political stability, a more just sharing in the world's resources, and a new economic and
political order that will better serve the human community at a national and international level." (Juan Pablo II, Ex corde
Ecclesiae, n.32; cf., also, S.E.R. Mons. Fremiot Torres Oliver, "Universidad Católica: pasado, presente y futuro", at El
Visitante, l5.VI.1991, pp. 9,10,12).


82.

In short, the identity of the Catholic University is conquered inch by inch in the individual and collective life, in all the tasks
and responsibilities of the university community. From the deep and rich content of this statement is evident that the
regulations of the Ordinances on scientific and pedagogical suitability, the rightness of doctrine and integrity of life of
teachers is fair and reasonable; and that members of the institution promote this identity and that non-Catholics at least,
respect it.

We close this chapter with the final words of the aforementioned Apostolic Exhortation, Ex corde Ecclesiae: "The mission
that the Church, with great hope, entrusts to Catholic Universities holds a cultural and religious meaning of vital
importance because it concerns the very future of humanity... Jesus Christ, our Saviour, offers his light and his hope to all

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those who promote the sciences, the arts, letters and the numerous fields developed by modem culture. The Church and
the world have great need of your witness and of your capable, free, and responsible contribution."

                                                                V. Conclusion

83.

Upon completion of this commemorative document of the twentieth anniversary of the "Pastoral Letter on Education in
Catholic Schools of Puerto Rico," we would like to warmly congratulate in the Lord all educational establishments of the
Church and we honor the memory of those who dedicated their lives to the noble purpose of Christian education. This is a
propitious time to ask us: Where are our roots? Where do we go from here? What principles govern our journey and to
what extent we have been faithful to the mission? The goal and the identity of an institution are like two sides of the same
coin; however, a tortuous path exists between everyday reality and the ideal proposed made of commitments, sometimes
mistakes, and always sacrifices.

84.

Education, as assimilation of culture and as an always perfectible dynamic process, collects the wise memory of the past,
teaches how to live in today's reality and is projected into tomorrow. The Fourth General Conference of Latin American
Bishops held in Santo Domingo, confirmed the indispensability of Christian education in the New Evangelization.
"Christian Education, say the bishops, builds and strengthens in every Christian the life of faith and makes truly his life in
Christ (cf. Phil 1:21). Through it, man listen the "words of eternal life "(Jn 6:68), anyone in Christ, is a "new creation" (II
Cor 5:17) and the Father's plan to recapitulate all things in Christ takes place (cf. Eph 1:10 ). Thus, Christian education is
based on a true Christian anthropology, which means the opening of man to God as Creator and Father, to others as his
brothers, and to the world what he has been handed to enhance his potentialities and not for exerting a despotic rule that
destroys nature" (Conclusions of the Fourth General Conference of Latin American Bishops, n.264).

85.

The paragraph we just quoted, makes concise the multidimensionality of Catholic education centered on Christ, in
solidarity with others and open to earthly realities. And therein lies the essence of our educational work and it coincides
with the work of evangelization. It is about transforming from within and making a new humanity with the influx of the


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Good News [of Christ]. Educating can become a peculiar way to evangelize thoroughly and comprehensively. As pointed
out by the Apostolic Constitution Ex corde Ecclesiae, the evangelizing process is not only of preaching the Gospel in ever
wider geographic areas. In addition, it is proposed "to reach and kind of disrupt, through the power of the Gospel the
criteria of judgment, determining values, points of interest, lines of thought, sources of inspiration and models of life of
humanity that stand in contrast with the word of God and with the salvation plan (Ex corde Ecclesiae, n.48; cf. also
Evangelii nuntiandi, nn.18, ss.).

86.

A desideratum of such magnitude would be unattainable without the gifts of the Holy Spirit. The school is called to be a
praying community. The humble, deep and incessant prayer favors the happy culmination of their most cherished
aspirations. Let us put our minds and wills together in a united effort for the good of the Catholic school, which is the good
of youth and adults. Let us gather in a beam of hope all the sacrifices we have sown in the fertile soil of education. And
fervently let us trust in the grace of God which unfailingly rains over the mountains of our ideals. Let Mary, humble
disciple, Seat of Wisdom and Mater et Magistra of Christ and the Church lead us to the eternal classrooms.

Given at the Casa de Retiros de Juan XXIII, Caguas, Puerto Rico, December 5, 1996.




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